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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

 Commodity Futures Trading Commission,          )
                                                )
                            Plaintiff,          )
                                                ) Civil Action No. _________
                      v.                        )
                                                )
 Traders Global Group Inc., a New Jersey        )
 corporation, d/b/a “My Forex Funds”;           )
 Traders Global Group Inc., a Canadian          )
 business organization; and Murtuza             )
 Kazmi,                                         )
                                                )
                            Defendants.         )

                      [Proposed] Order Sealing Entire Case File
                    On A Temporary Basis Pursuant to Civ. L.R. 5.3

      Before the Court is Plaintiff Commodity Futures Trading Commission’s

(“CFTC” or “Commission”) Ex Parte Motion to Seal Case On A Temporary Basis

Pursuant to Local Rule 5.3. Contemporaneous with this Motion, the CFTC also filed

a Complaint for Injunctive and Other Equitable Relief and Penalties Under the

Commodity Exchange Act (“Complaint”) against the Defendants, and an Ex Parte

Motion for Statutory Restraining Order and Preliminary Injunction Pursuant to

7 U.S.C. § 13a-1 (“SRO Motion”).

      THE COURT FINDS that, upon consideration of the record to date and the

nature of this matter applied to the factors set out in Local Rule 5.3(c), the entire file

for this case—including all pleadings, motions, orders, or other filings—should

remain sealed until further order of this Court because legitimate private and public

interests warrant it; clear and serious injury would result if any portion of this case

were made public at this stage; and there is no less restrictive alternative available.
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Therefore, the Court GRANTS Plaintiff’s Ex Parte Motion To Seal Case On A

Temporary Basis Pursuant to Civ. L.R. 5.3.

       IT IS HEREBY ORDERED that the entirety of this case—including the

Complaint, the SRO Motion and its attachments, the motion for expedited discovery,

and any other pleadings filed or orders issued—shall be sealed until further order of

this Court.

      IT IS SO ORDERED.

Dated: __________________



                                              ___________________________________
                                                  U.S. District Court Judge




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